  Case 5:23-cv-00046-JPB Document 5 Filed 04/20/23 Page 1 of 4 PageID #: 24




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              WHEELING DIVISION

 DIANA MEY, individually and on behalf
 of a proposed class,

                               Plaintiff,

 v.                                              Civil Action No. 5:23-cv-46
                                                 Judge John P. Bailey
 LEVIN, PAPANTONIO, RAFFERTY,
 PROCTOR, BUCHANAN, O’BRIEN,
 BARR & MOUGEY P.A.; PRINCIPAL
 LAW GROUP, LLC; MCM SERVICES
 GROUP LLC; AND JOHN DOE
 DEFENDANTS 1-5,

                               Defendants.


                                     JOINT STIPULATION

       Defendant Principal Law Group, LLC and Plaintiff Diana Mey, by their respective

Counsel, hereby stipulate that Principal Law Group, LLC may have until May 4, 2023, to file its

response to Plaintiff’s Complaint.


 Jointly submitted by:

 /s/ Ryan M. Donovan                             /s/ Joseph R. Blalock
 Andrew C. Robey (WV 12806)                      Joseph R. Blalock (WV 12090)
 Ryan M. Donovan (WV 1160)                       BENESCH, FRIEDLANDER, COPLAN & ARONOFF
 HISSAM FORMAN DONOVAN RITCHIE PLLC              LLP
 P.O. Box 3983                                   44 15th Street, Suite 2
 Charleston, West Virginia 25339                 Wheeling, West Virginia 26003
 Email:        arobey@hfdrlaw.com                Telephone:      614.461.5881
               rdonovan@hfdrlaw.com              Facsimile:      614.223-9300
                                                 Email:          jblalock@beneschlaw.com
 Attorneys for Plaintiff
                                                 David M. Krueger (OH 0085072) (Pro hac
                                                 vice forthcoming)
                                                 John N. Dagon (OH 0098128) (Pro hac vice
                                                 forthcoming)
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                                     BENESCH, FRIEDLANDER, COPLAN & ARONOFF
                                     LLP
                                     200 Public Square, Suite 2300
                                     Cleveland, Ohio 44114
                                     Telephone:    216.363.4500
                                     Facsimile:    216.363.4588
                                     Email:        dkrueger@beneschlaw.com
                                                   jdagon@beneschlaw.com

                                     Attorneys for Defendant Principal Law Group,
                                     LLC
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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              WHEELING DIVISION

 DIANA MEY, individually and on behalf
 of a proposed class,

                               Plaintiff,

 v.                                               Civil Action No. 5:23-cv-46
                                                  Judge John P. Bailey
 LEVIN, PAPANTONIO, RAFFERTY,
 PROCTOR, BUCHANAN, O’BRIEN,
 BARR & MOUGEY P.A.; PRINCIPAL
 LAW GROUP, LLC; MCM SERVICES
 GROUP LLC; AND JOHN DOE
 DEFENDANTS 1-5,

                               Defendants.


                                CERTIFICATE OF SERVICE

       I, Joseph R. Blalock, counsel for Defendant Principal Law Group, LLC, do hereby certify

on this 20th day of April, 2023, a true and correct copy of the foregoing “JOINT

STIPULATION” was electronically filed with the Clerk of Court using the CM/ECF system,

which will send information of such filing to the following party:

Andrew C. Robey (WV 12806)
Ryan M. Donovan (WV 1160)
HISSAM FORMAN DONOVAN RITCHIE PLLC
P.O. Box 3983
Charleston, West Virginia 25339
Email:        arobey@hfdrlaw.com
              rdonovan@hfdrlaw.com

Attorneys for Plaintiff

R. Edison Hill (WV 1734)
Hill Peterson Carper Bee & Deitzler, PLLC
North Gate Business Park
Charleston, West Virginia 25311
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Attorney for Defendant Levin, Papantonio,
 Rafferty, Proctor, Buchanan, O’Brien,
 Barr & Mougey P.A.


                                            /s/ Joseph R. Blalock
                                            Joseph R. Blalock (WV 12090)
                                            BENESCH, FRIEDLANDER, COPLAN & ARONOFF
                                            LLP
                                            44 15th Street, Suite 2
                                            Wheeling, West Virginia 26003
                                            Telephone:      614.461.5881
                                            Facsimile:      614.223-9300
                                            Email:          jblalock@beneschlaw.com

                                            David M. Krueger (OH 0085072) (Pro hac
                                            vice forthcoming)
                                            John N. Dagon (OH 0098128) (Pro hac vice
                                            forthcoming)
                                            BENESCH, FRIEDLANDER, COPLAN & ARONOFF
                                            LLP
                                            200 Public Square, Suite 2300
                                            Cleveland, Ohio 44114
                                            Telephone:    216.363.4500
                                            Facsimile:    216.363.4588
                                            Email:        dkrueger@beneschlaw.com
                                                          jdagon@beneschlaw.com

                                            Attorneys for Defendant Principal Law Group,
                                            LLC
